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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA,                    :
                                             :
               v.                            :       Case No. 21-cr-301 (TJK)
                                             :
STEPHEN ETHAN HORN,                          :
                                             :
                      Defendant.             :


                              JOINT PROPOSED VOIR DIRE

The parties propose the following voir dire questions:

                         Joint: Knowledge of Participants in the Case

   1. This is a criminal case. The United States has charged Defendant STEPHEN HORN
      with violating four separate federal criminal laws based on his conduct at the United
      States Capitol on January 6, 2021. Specifically, the United States alleges that Stephen
      Horn unlawfully entered and remained on the Capitol grounds and unlawfully engaged in
      disorderly and disruptive conduct. Mr. Horn has pled not guilty to all charges.

   2. The United States is represented in this case by Trial Attorneys SONIA MURPHY and
      ASHLEY AKERS, and they are being assisted by paralegal BRIANNA RUMMENS,
      all of whom work at the United States Attorney’s Office here in Washington, D.C. Also
      at counsel table is FBI Special Agent CRAIG NOYES. PLEASE STAND. Do you
      know or have you had any contact with these individuals?

   3. STEPHEN HORN is represented in this case by his attorneys MARSHALL ELLIS and
      CHARLES HASKELL. PLEASE STAND. Do you know or have you had any contact
      with these individuals? Does anyone know Stephen Horn?

   4. During the trial, you may hear testimony from or about a number of people. The
      attorneys will now identify for you the names of people who may testify or about whom
      you may hear testimony. Listen carefully and, if you recognize or know any of the people
      named, please mark your paper beside the number 4.

   5. Please look around you. Do you know or recognize any other member of the prospective
      jury panel, the courtroom staff, or me?

             Joint: Presumption of Innocence, Burden of Proof, and Reasonable Doubt

   6. The defendant in this case, just as every defendant in a criminal trial, is presumed
      innocent and, therefore, has no obligation to testify or present any evidence in the case.
      Would you have any difficulty accepting and applying this legal instruction?

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7. The prosecution has the burden of proof. This means that the jury cannot return a guilty
   verdict against a defendant unless the prosecution has proven beyond a reasonable doubt
   that the defendant is guilty of the crime charged. Would you have any difficulty
   accepting and applying this legal instruction?

8. Would you draw an adverse inference if the defendant chose not to testify on his own
   behalf in this case?

9. If after you have heard all the evidence, you find that the government has proven beyond
   a reasonable doubt every element of each offense, it is your duty to find the defendant
   guilty. On the other hand, if you find that the government has failed to prove any element
   of the offenses beyond a reasonable doubt, you must find the defendant not guilty. Would
   you be reluctant or unable to carry out this duty?

10. Inquire of potential jurors individually to determine the following facts:

       a. Marital status

       b. Children

       c. Educational background

       d. Current and former employment

       e. Residential history

                i. Where all each juror has lived in the past

               ii. How long each juror has lived in the District of Columbia

   The government objects to Question #10(a), (b), (e) as irrelevant or unnecessary.

    Joint: Familiarity with Prosecution/ Defense/ Police Work/ Jury Service/ Etc.

11. Have you, any member of your family or close friend ever studied law or been employed
    by a lawyer or a law firm, worked in a courthouse, as a paralegal or legal secretary, or
    performed legal investigative work?

12. Have you, any member of your family or close friend ever worked for a government
    agency such as a prosecutor’s office or the United States Attorney’s Office?

13. Have you, any member of your family or close friend ever worked for a defense law firm
    or public defender’s office?

14. Have you, any member of your family or close friend ever been employed by any local,
    state, or federal law enforcement agency or a private security company? Law
    enforcement agencies include for example, the Metropolitan Police Department, the



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   United States Capitol Police, the U.S. Marshals Service, the Federal Bureau of
   Investigation (FBI), or the United States Secret Service.

15. Have you, any member of your family or close friend had any experiences with any law
    enforcement agency, or the government that might cause you to favor or disfavor the
    government or law enforcement?

16. Have you ever filed a complaint against a police officer or anyone in law enforcement?

17. Do you have any opinions about prosecutors or defense attorneys that might affect your
    ability to serve fairly and impartially in this trial?

18. In this case, law enforcement officers will be witnesses. Would you tend to believe or
    not believe the testimony of a law enforcement officer simply because he or she is a law
    enforcement officer? In other words, would you tend to give more or less weight to the
    testimony of a law enforcement officer than to the testimony of other witnesses?

19. Have you, any member of your family, or close friend ever been the subject of a criminal
    investigation, been accused of criminal conduct, been arrested, or convicted of a crime,
    been a victim of a crime, been a witness to a crime, testified in court or before a grand
    jury as a witness to a crime, or been required to appear in court for any reason?

   i.      If so, what type of crime? How was the case resolved? When was it resolved?
   ii.     Were you satisfied with the way the case was handled by law enforcement,
           prosecutors, and/or the court?
   iii.    Would that have any effect on your ability to be fair and impartial in evaluating
           this case or deliberating on a verdict?

20. Have you served on a grand jury or trial jury before? If served on a trial jury:

   i.      Was it a criminal or a civil case?
   ii.     Did you reach a verdict?
   iii.    Was there anything about your experience as a juror which would make you not
           want to serve again?


                              Joint: Nature of the Charges

21. A few moments ago, you heard a brief summary about the charges in this case—that is,
    that the government has alleged Mr. Horn was involved with the events at the Capitol on
    January 6, 2021. The specific offenses with which Mr. Horn is charged are: (1) entering
    and remaining in a restricted building or grounds; (2) disorderly and disruptive conduct in
    a restricted building or grounds; (3) disorderly conduct in a Capitol building; and (4)
    parading, demonstrating, or picketing in a Capitol building. Is there anything about the
    nature of those charges, or any experience that you or a family member or close friend may
    have had, that would affect your ability to be a fair and impartial juror in this case?



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22. During the course of this trial, you will hear about the events at the United States Capitol
    on January 6, 2021. Do you, any member of your family or close friend live, work near,
    or have any special familiarity with the immediate area of the United States Capitol?

23. Were you, any member of your family, or close friend present at the U.S. Capitol on
    January 6, 2021?

24. Have you ever watched video of Mr. Horn, relating to January 6, 2021, on the news, on
    the internet, or any other way?

25. If you were selected as a juror in this case, I will instruct you to avoid and not seek out
    any media coverage about this case or Mr. Horn, including on radio, television, podcasts,
    social media, and the internet. I will instruct you not to Google or search for information
    about Mr. Horn. Would you have difficulty following this instruction?

26. Regardless of what you may have heard or seen about events at the U.S. Capitol on
    January 6, 2021, and no matter what opinions you may have formed, can you put all of
    that aside and decide this case only on the evidence you receive in court, follow the law,
    and decide the case in a fair and impartial manner?

27. You are probably aware that the former president has now been charged with conduct
    related to January 6, 2021. Does that affect your ability, in any way, to judge Stephen
    Horn’s case based solely on the evidence admitted by the Court and presented to you
    during this trial?

28. This particular case involves the First Amendment, namely, the right of a free press. Do
    you have any personal feelings, positive or negative, about the right of a free press that
    would prevent you from fairly judging the evidence that will be presented during this
    trial? If so, please share.

29. Does any member of your family or a close friend work for a news media company or as
    an independent journalist?

30. Have you, any member of your family, or close friend had any particular experiences
    with a journalist or other member of the news media that have caused you to form certain
    opinions about such individuals? If so, what happened?

31. Do you have any opinions about journalists and members of the news media that might
    affect your ability to serve fairly and impartially in this trial?

The government objects to Question #27, 28, 29, 30, or 31 as irrelevant or unnecessary.

                     Joint: Medical Problem / Hardship / Catch-all

32. Are you currently caring for a relative or close friend, who has been infected by, or
    exposed to persons infected with, COVID-19, such that it would be difficult for you to
    pay attention or otherwise to serve as a juror in this case?


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33. The lawyers have predicted that the presentation of evidence in this trial should last about
    3 days, but it could run longer. The jury will sit on weekdays, generally from 9:30 a.m.
    to 5 p.m., although the starting and ending times may vary. The length of jury
    deliberations following the presentation of evidence at trial will be determined by the jury
    itself. Do you have an urgent or extremely important matter to attend to this week or
    next, such that you could be faced with a hardship if selected to serve on the jury in this
    case?

34. To reach a verdict on a particular charge, every juror must agree on the verdict. That is,
    any verdict must be unanimous. In deliberations you must consider the opinions and
    points of your fellow jurors, but you must also follow your own conscience and be
    personally satisfied with any verdict. Would you have difficulty expressing your own
    opinions and thoughts about this case to your fellow jurors?

35. Do you have any vision, or hearing problems, or any other physical or medical problems,
    that might interfere with your ability to hear or understand what the witnesses say in this
    case, to view exhibits and photographs, or to give your full attention to this case?

36. Do you have any difficulty understanding, reading, or speaking the English language?

37. Do you have any moral, religious, or ethical beliefs that prevent you from sitting in
    judgment of another person?

38. The law requires that the jurors weigh the evidence in a case and determine the guilt or
    innocence of the defendant solely upon the basis of the evidence, without any
    consideration of the matter of punishment and without prejudice, fear, sympathy, or
    favoritism. Do you believe that you would have difficulty following this instruction?

39. Do you know of any reason, or has anything occurred to you during this questioning, that
    might in any way prevent you from following my instructions on the law and being
    completely fair and impartial as a juror in this case?




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